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                                      United States Bankruptcy Court
                                       Middle District of Florida
In re:                                                                                  Case No. 18-06437-KSJ
James S. Pendergraft, IV                                                                Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 113A-6           User: cahyen                  Page 1 of 2                  Date Rcvd: Oct 19, 2018
                               Form ID: 309A                 Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 21, 2018.
db             +James S. Pendergraft, IV,    609 Virginia Drive,   Orlando, FL 32803-1844
27849781       +C.H. as Settlor of the,    JF Spcl Needs Trust Admn Inc,   C/O the Fernandez Firm,
                 2503 W. Swann Ave, Ste 100,    Tampa, FL 33609-4017
27849784       +Capital One/Neiman Marcus/Bergdorf Goodm,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
27849786      ++GOLD KEY CREDIT INC,    PO BOX 15670,   BROOKSVILLE FL 34604-0122
               (address filed with court: Gold Key Credit,     Attn: Bankruptcy,    Po Box 15670,
                 Brooksville, FL 34604)
27849788       +Mr. Cooper,   Attn: Bankruptcy,    8950 Cypress Waters Blvd,   Coppell, TX 75019-4620

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jclark@youhavepower.com Oct 19 2018 23:12:03        Justin R Clark,
                 Attorneys Justin Clark & Associates PLLC,     500 Winderley Place, Suite 100,
                 Maitland, FL 32751
tr             +EDI: QAMAHENDRU.COM Oct 20 2018 02:58:00       Arvind Mahendru,    5703 Red Bug Lake Road,
                 Suite 284,   Winter Springs, FL 32708-4969
ust            +E-mail/Text: ustp.region21.or.ecf@usdoj.gov Oct 19 2018 23:12:41
                 United States Trustee - ORL7/13,    Office of the United States Trustee,
                 George C Young Federal Building,    400 West Washington Street, Suite 1100,
                 Orlando, FL 32801-2210
27849776        EDI: HNDA.COM Oct 20 2018 02:58:00       American Honda Finance,    Attn: Bankruptcy,
                 Po Box 168088,    Irving, TX 75016
27849777       +EDI: AMEREXPR.COM Oct 20 2018 02:58:00       Amex,   Correspondence/Bankruptcy,    Po Box 981540,
                 El Paso, TX 79998-1540
27849778        EDI: BANKAMER.COM Oct 20 2018 02:58:00       Bank Of America,    Attn: Bankruptcy,    Po Box 982238,
                 El Paso, TX 79998
27849779       +E-mail/Text: bkmailbayview@bayviewloanservicing.com Oct 19 2018 23:13:33
                 Bayview Financial Loan,    Attn: Bankruptcy Dept,     4425 Ponce De Leon Blvd.,   5th Floor,
                 Coral Gables, FL 33146-1873
27849782       +EDI: CAPITALONE.COM Oct 20 2018 02:58:00       Cap1/kawas,
                 Capital One Retail Srvs/Attn: Bankruptcy,     Po Box 30258,    Salt Lake City, UT 84130-0258
27849783       +EDI: CAPIO.COM Oct 20 2018 02:58:00       Capio Partners LLC,    Attn: Bankruptcy,    Po Box 3498,
                 Sherman, TX 75091-3498
27849785       +EDI: CIAC.COM Oct 20 2018 02:58:00       Citimortgage,    Attn: Centralized Bankruptcy,
                 Po Box 9438,   Gettsburg, MD 20898-9438
27849774        EDI: FLDEPREV.COM Oct 20 2018 02:58:00       Florida Department of Revenue,    Bankruptcy Unit,
                 Post Office Box 6668,    Tallahassee FL 32314-6668
27849787       +E-mail/Text: bankruptcy.notices@hdfsi.com Oct 19 2018 23:13:46        Harley Davidson Financial,
                 Attn: Bankruptcy,    Po Box 22048,   Carson City, NV 89721-2048
27849775        EDI: IRS.COM Oct 20 2018 02:58:00      Internal Revenue Service,     Post Office Box 7346,
                 Philadelphia PA 19101-7346
27849773       +E-mail/Text: Bankruptcy@octaxcol.com Oct 19 2018 23:12:27        Orange County Tax Collector,
                 PO Box 545100,    Orlando FL 32854-5100
27849789       +E-mail/Text: bkrgeneric@penfed.org Oct 19 2018 23:12:22        Pentagon Federal Cr Un,
                 Po Box 1432,   Alexandria, VA 22313-1432
27849790       +E-mail/Text: bkdepartment@rtresolutions.com Oct 19 2018 23:13:16        Real Time Resolutions,
                 Attn: Bankruptcy,    Po Box 36655,   Dallas, TX 75235-1655
27849791       +EDI: USAA.COM Oct 20 2018 02:58:00       USAA Federal Savings Bank,    Attn: Bankruptcy,
                 10750 Mcdermott Freeway,    San Antonio, TX 78288-1600
                                                                                               TOTAL: 17

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
27849780*       +Bayview Financial Loan,   Attn: Bankruptcy Dept,   4425 Ponce De Leon Blvd,     5th Floor,
                  Coral Gables, FL 33146-1873
                                                                                               TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
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District/off: 113A-6                  User: cahyen                       Page 2 of 2                          Date Rcvd: Oct 19, 2018
                                      Form ID: 309A                      Total Noticed: 22


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 21, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 19, 2018 at the address(es) listed below:
              Arvind Mahendru    amtrustee@gmail.com, amahendru@ecf.epiqsystems.com
              Justin R Clark   on behalf of Debtor James S. Pendergraft, IV jclark@youhavepower.com,
               mspivak@youhavepower.com
              United States Trustee - ORL7/13   USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              James S. Pendergraft IV                                               Social Security number or ITIN    xxx−xx−0559
                      First Name   Middle Name      Last Name                               EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                    Social Security number or ITIN _ _ _ _
                      First Name   Middle Name      Last Name
(Spouse, if filing)
                                                                                            EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida
                                                                                            Date case filed for chapter 7 10/18/18
Case number:          6:18−bk−06437−KSJ


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       James S. Pendergraft IV

2.      All other names used in the
        last 8 years

3.     Address                                   609 Virginia Drive
                                                 Orlando, FL 32803

4.     Debtor's attorney                         Justin R Clark                                       Contact phone 321−282−1055
                                                 Attorneys Justin Clark & Associates PLLC
       Name and address                          500 Winderley Place, Suite 100                       Email: jclark@youhavepower.com
                                                 Maitland, FL 32751

5.     Bankruptcy Trustee                        Arvind Mahendru                                      Contact phone (407) 504−2462
                                                 5703 Red Bug Lake Road
       Name and address                          Suite 284
                                                 Winter Springs, FL 32708

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor James S. Pendergraft IV                                                                               Case number 6:18−bk−06437−KSJ


6. Bankruptcy Clerk's Office                   George C. Young Federal Courthouse                           Hours open:
                                               400 West Washington Street                                   Monday − Friday 8:30 AM −
   Documents in this case may be filed at this Suite 5100                                                   4:00PM
   address. You may inspect all records filed Orlando, FL 32801
   in this case at this office or online at
   www.pacer.gov.                                                                                           Contact phone 407−237−8000

                                                                                                            Date: October 19, 2018

7. Meeting of creditors                         November 27, 2018 at 08:30 AM                               Location:

   Debtors must attend the meeting to be        The meeting may be continued or adjourned to a George C. Young Courthouse,
   questioned under oath. In a joint case,      later date. If so, the date will be on the court Suite 1203−B, 400 West
   both spouses must attend. Creditors may
   attend, but are not required to do so. You   docket.                                          Washington Street, Orlando, FL
   are reminded that Local Rule 5073−1                                                           32801
   restricts the entry of personal electronic     *** Debtor(s) must present Photo ID and acceptable
   devices into the Courthouse.                  proof of Social Security Number at § 341 meeting. ***


8. Presumption of abuse                         Insufficient information has been filed to date to permit the clerk to make any
                                                determination concerning the presumption of abuse. If more complete information,
   If the presumption of abuse arises, you      when filed, shows that the presumption has arisen, creditors will be notified.
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                  File by the deadline to object to discharge or                Filing deadline: January 28, 2019
                                              to challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).


                                                Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                exempt. If you believe that the law does not authorize an
                                                exemption claimed, you may file an objection.


10. Proof of claim                              No property appears to be available to pay creditors. Therefore, please do not file a
                                                proof of claim now. If it later appears that assets are available to pay creditors, the clerk
   Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a
                                     motion asking the court to extend the deadlines in this notice. Consult an attorney
                                     familiar with United States bankruptcy law if you have any questions about your rights
                                     in this case.

12. Exempt property                             The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                objection by the deadline to object to exemptions in line 9.

13. Voice Case Info. System                     McVCIS provides basic case information concerning deadlines such as case opening and closing
    (McVCIS)                                    date, discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day
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                                              except when routine maintenance is performed. To access McVCIS toll free call
                                              1−866−222−8029.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline       page 2
